    24-05031-cag Doc#27 Filed 08/15/24 Entered 08/15/24 11:20:06 Msc/EntDflt AP int ptys
                                        Pg 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                               Western District of Texas
                                 San Antonio Division

                                                                      Bankruptcy Case
                                                                                      22−50591−cag
                                                                                 No.:
                                                                         Chapter No.: 11
IN RE: Chris Pettit & Associates, P.C. and
Christopher John Pettit , Debtor(s)

                                                                Adversary Proceeding
                                                                                     24−05031−cag
                                                                                No.:
                                                                              Judge: Craig A Gargotta
                                                            Eric Terry in his
                                                            capacity as Chapter 11
                                                            Trustee for the Debtors
                                                            Plaintiff
                                                       v.
                                                            Texas Partners Bank
                                                            d/b/a The Bank of San
                                                            Antonio et al.
                                                            Defendant



                                     CLERK'S ENTRY OF DEFAULT
       It appears from the record that the following Defendant(s) failed to plead or otherwise defend in this case as
required by law:


                                     CHRISTOPHER JOHN PETTIT, INDIVIDUALLY

Therefore, default is entered against the Defendant(s) as authorized by Bankruptcy Rule 7055.


Dated: 8/15/24
                                                               Barry D. Knight
                                                               Clerk, U. S. Bankruptcy Court




                                                                                           [Clerk's Entry of Default(AP)] [MsccedAPap]
